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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY
                           NEWARK
                             Minutes of Proceedings


Judge: Hon. Leo M. Gordon                       Date:    January 3, 2025

Deputy Clerk:    Shea Smith

Court Reporter: Lisa Larsen

Title of Case:                               Docket # CV.23-3885 LMG-LDW

State of New Jersey,         et   al.   v.   United   States    Department     of
Transportation, et al.

Appearances:
Randy Mastro, Esq, Camilla Akbari, Esq., Robert Solomon, Esq. for
the plaintiffs.
Gregory Cumming, Esq., Alex Silagi, Esq., Samantha G. Peltz, Esq.,
Dan Chorost, Esq., Phillip Warren, Esq., Roberta A. Kaplan, Esq.
for the defendants.
David Mateen, Esq., Amici Plaintiff.
John H. Reichman, Esq., Andrew Otis, Esq. Amici defendants.

Nature of Proceedings: Oral Argument
Hearing held on the Order to Show Cause (ECF No. 192) and the
plaintiff’s Emergent application for a Temporary Restraining Order
and Injunction Relief (ECF No. 192-1).
Break in the oral argument at 4:25 p.m.
Oral argument continued at 8:15 p.m.
ORDERED that plaintiff’s request for additional time to file an
appeal is denied.
ORDERED that plaintiff’s application for clarification and
reconsideration, TRO and preliminary injunction are denied.
The Court will enter an order.
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Time Commenced: 3:05 p.m.
Time Adjourned: 8:35 p.m.
Total Time: 1 hour, 40 Minutes



                                   Shea M. Smith, Courtroom Deputy
